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UNITED STATES OF AMERICA

V. CRIMINAL ACTION NO. 2:09-00209

CHRISTINE KAREN GARDNER

WAIVER OF IN'DICTMENT

I, Christine Karen Gardner, the above-named defendant,
who is accused of one violation of Title 18, United States Code,
Sections 665(a) and (2) as charged in the one-count information
filed in this action, being advised of the nature of the charge,
the proposed information, and of my rights, hereby waive in open
court on December 8, 2009, prosecution by indictment and consent

that the proceeding may be by information rather than by indict-

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Christine Karen Gardner

ment.

Witness:

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Counsel for Defendant

 

